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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

                                                                 §
      IN RE:                                                     §                    CHAPTER 11
                                                                 §
         WC 4TH AND COLORADO, LP, 1                              §            CASE NO. 20-10881-TMD
                                                                 §
                                       DEBTOR.                   §                   (Rel. to Dkt. 21)
                                                                 §


            COLORADO THIRD STREET, LLC’S AMENDED EMERGENCY
           MOTION TO QUASH IN PART DEBTOR’S RULE 2004 DOCUMENT
      REQUESTS AND, IN THE ALTERNATIVE, FOR ENTRY OF PROTECTIVE ORDER

           Colorado Third Street, LLC (“Colorado Third” or “Lender”), as lender to the above-

  captioned debtor and debtor in possession (the “Debtor”) under that certain Loan Agreement dated

  March 23, 2015 as amended from time to time, files this Amended Emergency Motion to Quash in

  Part Debtor’s Rule 2004 Document Requests and, in the Alternative, for Entry of Protective Order

  (the “Motion”) in response to the Debtor’s Notice of Intent to Request Rule 2004 Document

  Production from Colorado Third Street, LLC (the “Requests”) attached as Exhibit 1, and

  respectfully states as follows:

                                        PRELIMINARY STATEMENT

           1.       Most of the Debtor’s Requests to Lender have nothing to do with the administration

  of the Estate or the Debtor’s liabilities or financial condition. The Requests are therefore outside

  the scope of Rule 2004 notices to non-Debtor parties. Instead, the Debtor’s Requests are focused

  on harassing discovery that it could not get in its now-stayed lawsuit against Lender and it wants

  solely so that it can invade Lender’s personal and confidential affairs and otherwise harass (and



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   The Debtor in this chapter 11 case, along with its last four digits of its federal tax identification number is: WC 4th
  and Colorado, LP (1759).
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  perhaps sue) Lender’s investors, owners, and employees. This Court should not countenance this

  behavior.

         2.        After failing to halt foreclosure in a Travis County court, the Debtor now seeks to

  use its bankruptcy, and specifically at this point, the Requests, as a cudgel to force Lender to

  disclose the identity of its investors, employees, officers, and beneficial owners, as well as to

  disclose its confidential business affairs, for no bankruptcy-related purpose and solely for the sake

  of harassment.

         3.        Furthermore, this is the Debtor’s second attempt to discover the beneficial owners

  of Lender and its investors. The Debtor made a similar request in a Travis County court. Judge

  Maya Guerra Gamble responded that the Debtor would not be entitled to this list of owners and

  investors “for any reason” unless the “[Debtor] can show they are a part of WC 4th and Colorado

  LP.” July 27, 2020 Hearing Tr., attached as Exhibit 2 at 100:19-25, 101:1-3. Judge Gamble

  ordered the Debtor to provide a confidential list of the Debtor’s partners to counsel for Lender,

  and subsequently ordered Lender’s counsel to compare the list and to respond to the Debtor and

  the court as to whether any of the Debtor’s partners were beneficial owners, principals, investors,

  or capital sources for Lender, or whether those persons or entities were involved with Lender’s

  purchase of the loan from the prior owner. Exhibit 3, Order dated July 28, 2020 in Cause No. D-

  1-GN-20-002781, at 1. Lender complied and has already responded that none of its investors,

  partners, or managers are affiliated with Debtor. The Debtor is unable to show good cause

  sufficient to support further requests.

         4.        Rule 2004 does not license the Debtor to pry from creditors confidential business

  information that is irrelevant to the Debtor’s estate. Nor does the power of examination allow the

  Debtor to seek information relevant only to finding new ways to harass its creditors. This Court



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  should therefore quash Request Nos. 1-6 and 10-15 in their entirety, sustain Lender’s objections

  to portions of Request Nos. 7, 8, 9, 16, and 17, and protect Lender from producing pursuant to

  Lender’s objections.

           5.    A chart summarizing the Lender’s objections to the Debtor’s Requests is included

  below.

                                           BACKGROUND

  A.       The Property and the Loan Documents

           1.    On March 23, 2015, Debtor executed a Promissory Note (the “Note”) evidencing a

  $9,082,000.00 commercial real estate loan (the “Loan”) in favor of Independent Bank, formerly

  Northstar Bank of Texas (the “Original Lender”). The Loan was memorialized in, among other

  things, a Loan Agreement (the “Loan Agreement”) between the Original Lender and the

  Debtor. The Loan is further secured by certain real property, together with improvements thereon,

  located at 117 West 4th Street, Austin, Texas (the “Property”). Debtor granted the Original Lender

  a first priority lien, deed of trust, and security interest against the Property pursuant to that Deed

  of Trust (with Security Agreement, Assignment of Rents and Leases, and Financing Instrument),

  dated March 23, 2015 (the “Deed of Trust”). The Deed of Trust was recorded in the real property

  records of Travis County, Texas (the “Real Property Records”) on March 25, 2015, under

  Instrument Number 2015043592.

           2.    Pursuant to a Loan Modification Agreement dated October 11, 2019, the Note fully

  matured on December 31, 2019. Debtor has failed to pay the full amount due and owing under the

  Loan and has made no payments on the Loan since December 2019.




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          3.      On January 28, 2020, the Original Lender sent the Debtor, Guarantors 2, and

  Debtor’s legal counsel a notice of default.

          4.      On May 1, 2020, the Original Lender and Lender entered into the Assignment and

  Assumption of Mortgage and Loan Documents, dated May 1, 2020 (the “Assignment

  Agreement”), under which the Original Lender assigned all its rights, title, and interest under the

  Loan Documents and in connection with the Loan to Lender, including the Loan Agreement, the

  Note, the Deed of Trust, and the Guaranty Agreements. In addition, the Original Lender also

  executed an Allonge (the “Allonge”) to the Note in Lender’s favor. The Assignment Agreement

  was recorded in the Real Property Records on May 8, 2020 under Instrument Number 2020074309.

          5.      On May 19, 2020, Lender sent the Debtor, the Guarantors, and the Debtor’s counsel

  a second notice of default as a courtesy, and provided an additional 10 days to pay the balance due

  under the Note. No payments have been made.

  B.      The Debtor’s Unsuccessful Attempt to Halt Foreclosure

          6.      On June 3, 2020, with the matured Loan unpaid for 6 months, Lender provided the

  Debtor with the first Notice of Substitute Trustee’s Sale of the non-judicial foreclosure sale

  scheduled for July 7, 2020. Debtor responded by refusing to recognize Lender as the holder of the

  Note and by demanding that Lender disclose its investors. In response, Lender filed a state court

  proceeding styled Colorado Third Street, LLC v. WC 4th and Colorado, LP in the 261st Judicial

  District of Travis County, Texas (the “State Court Proceeding”) asking for a declaratory judgment

  that Lender was the proper Note holder and did not have to disclose its investors. On June 1, 2020,

  the Debtor asserted, among other claims, a declaratory judgment action seeking a declaration that




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   Debtor’s Guarantors include Natin (“Nate”) Paul, WC 4th and Colorado GP, LLC, and World Class Capital Group,
  LLC.

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  Lender “is required to turn over documents or information sufficient to identify the persons who

  own and control the Colorado Third Street, LLC[.]” Exhibit 4, WC 4th and Colorado, LP’s Answer

  and Counterclaims in Cause No. D-1-GN-20-002781 at ¶35.

         7.      On July 6, 2020, the Debtor obtained a temporary restraining order enjoining the

  July 7, 2020 foreclosure sale. Lender subsequently submitted a second Notice of Substitute

  Trustee’s Sale on July 14, 2020 for an August 4, 2020 foreclosure sale. The Debtor sought a

  temporary injunction.

         8.      During the Temporary Injunction hearing, Travis County Judge Maya Guerra

  Gamble refused Debtor’s request for discovery on Lender’s principals and investors, finding that

  the Debtor was not entitled to this information “for any reason” unless “[Debtor] can show they

  are a part of WC 4th and Colorado LP.” July 27, 2020 Hearing Tr., attached as Exhibit 2 at 100:19-

  25, 101:1-3. To resolve any concerns about conflicts of interest, Judge Gamble ordered the Debtor

  to provide Lender with a conflicts list of its partners on a confidential basis, and ordered counsel

  for Lender to respond as to whether any of those individuals on the conflicts list is a beneficial

  owner, principal, investor, or capital source for Lender, or involved with the purchase of the Loan

  by Lender from the Original Lender. Exhibit 3, Order dated July 28, 2020 in Cause No. D-1-GN-

  20-002781, at 1. Lender confirmed that they were not. See Colorado Third’s Response to Conflict

  List, attached as Exhibit 5.

         9.      On July 31, Debtor’s request for a temporary injunction was denied, allowing

  Lender to move forward with its scheduled foreclosure of the Property.

  C.     The Debtor Resorts to Bankruptcy to Halt Foreclosure

         10.     On August 4, 2020 (the “Petition Date”), on the very same day the foreclosure was

  scheduled to proceed, Debtor filed the above-style bankruptcy case (this “Chapter 11 Case”) in the

  U.S. Bankruptcy Court for the Western District of Texas (the “Court”). The unpaid balance due
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  as of the Petition Date on the Note is $8,679,267.32. On August 20, 2020, the Debtor filed its

  Schedules, Statements, and Summary of Financial Affairs [Dkt. No. 17].

           11.   This Chapter 11 Case is one of more than a dozen filed by affiliates of World Class

  Capital currently pending before the Western District of Texas Bankruptcy Court. After being in

  bankruptcy for almost one month, the Debtor has not entered into any meaningful negotiations

  with Lender, submitted a budget, or substantively responded to Lender’s proposed Cash Collateral

  order.

           12.   On August 25, 2020, Lender notified Debtor of its intent to request document

  production pursuant to Bankruptcy Rule 2004 and Local Rule 2004. Lender’s requests are

  narrowly tailored and relate directly to the Estate of the Debtor and the potential that Lender’s

  security, including certain Cash Collateral, may not be adequately protected. (Despite being in

  bankruptcy for almost one month, the Debtor has not yet filed a motion requesting permission to

  use Lender’s Cash Collateral.)

           13.   After receiving Lender’s Requests, Debtor propounded 17 requests for production

  to Lender pursuant to the Notice of Intent to Request Rule 2004 Document Production From

  Colorado Third Street, LLC attached as Exhibit 5. The Debtor’s Requests ask for documents

  identifying a wide swath of otherwise confidential and sensitive information, including the name

  and address of each employee, director, manager, officers, agents, and representatives who have

  worked on behalf of Lender, indirect and ultimate beneficial owners, and even outside financiers.

  None of this information is relevant to Debtor’s Estate.

           14.   Lender is willing to produce documents in response to parts of Requests Nos. 6-9,

  16, and 17, but seeks protection from Requests Nos. 1-5 and 10-15 and parts of Nos. 7, 8, 9, 16,

  and 17. The information requested therein is strictly confidential and personally sensitive,



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  irrelevant to the Estate or Debtor’s affairs, and has been sought by Debtor on numerous prior

  occasions. Other Requests are objectionable for the additional reason that they are overbroad.

                                        RELIEF REQUESTED

         15.     This Court should quash Debtor’s Requests Nos. 1-6, 10-15 and portions of Request

  Nos. 7, 8, 9, 16, and 17. These Requests are improper under Rule 2004 as wholly unrelated to the

  estate and an invasion into Lender’s private affairs and confidential business. Portions of other

  Requests are plainly overbroad. Further, the Debtor’s Requests are part of an established pattern

  of harassment. As such, Debtor cannot establish the required good cause for its Rule 2004

  Requests.

         16.     Rule 2004 allows for an examination that “may relate only to the acts, conduct, or

  property or to the liabilities and financial condition of the debtor, or to any matter which may affect

  the administration of the debtor’s estate, or to the debtor’s right to a discharge.” FED. R. BANKR.

  P. 2004(b). Although the scope of a Rule 2004 examination is broad, courts have imposed

  important limits on the scope of the inquiry. See In re Buccaneer Res., LLC, 2015 Bankr. LEXIS

  4203, at *19 (Bankr. S.D. Tex. Dec. 10, 2015); In re Express One Int’l, 217 B.R. 215, 216 (Bankr.

  E.D. Tex. 1998).

         17.     An examination cannot be used for purposes of abuse or harassment, nor can it stray

  into matters which are not relevant to the basic inquiry into the property, claims, liabilities, or

  financial condition of the estate. In re Mittco, Inc., 44 B.R. 35, 36 (Bankr. E.D. Wis. 1984). Rule

  2004 may not be used as a device to launch into a wholesale investigation of a non-debtor’s private

  business affairs. In re Countrywide Home Loans, 384 B.R. 373, 393-94 (Bankr. W.D. Pa. 2008);

  In re Wilcher, 56 B.R. 428, 434 (Bankr. N.D. Ill. 1985).

         18.     Demonstrating that requested information is relevant is not sufficient to justify the

  examination. Express One Int’l, 217 B.R. at 216. When a motion to quash a subpoena is made,
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  the party seeking the Rule 2004 examination must carry the burden of showing that good cause

  exists. Id. Generally, good cause requires a showing that the examination sought is necessary to

  establish the claim of the party seeking the examination, or that the denial of such request would

  cause the proposed examiner undue hardship or injustice. Id. (citing In re Dinubilo, 177 B.R. 932,

  940 (E.D. Cal. 1993)).

          19.     When an inquiry is requested of a third-party, the Court should balance the

  competing interests of the need to “expose chicanery and double-dealing against the incalculably

  precious right of the citizen to be let alone, and to hold his writings inviolate from alien eyes in the

  absence of evidence that the material sought is relevant to the bankrupt’s acts or property, and that,

  under the law, there is justification for the invasion of the individual’s treasured privacy.” Herron

  v. Blackford, 264 F.2d 723, 725 (5th Cir. 1959) (discussing the well-trod relevancy standard of

  Fed. R. Civ. P. 45 in a bankruptcy setting); Wilcher, 56 B.R. 428 at 434 (applying Herron to hold

  that a that Rule 2004 examination of a third-party was improper).

      A. The Debtor’s Request for Identifying Information is Irrelevant to the Estate or
         Debtor’s Financial Condition and Therefore Outside the Scope of Proper Rule 2004
         Inquiry

          20.     Requests Nos. 1-6, and 11-13 seek documents sufficient to identify Lender’s

  employees, managers, agents, direct beneficial owners, indirect beneficial owners, third-party

  financing sources, debt investors, and equity investors. See Exhibit 1 at 3–4, 6–7. These are

  outside the scope of the Rule 2004 examination and the Court should quash these requests.

          21.     Under Request No. 1, Debtor requests documents sufficient to identify the name

  and address of each of Lender’s employees, directors, managers, and officers. Id. at 3. Request

  No. 2 seeks documents identifying the name and address of any agents or representatives who have

  worked on Lender’s behalf. Id. Request No. 3 seeks the same identifying information for each of

  Lender’s members or owners, including all beneficial owners and their ultimate beneficial owners,
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  and the percentage ownership of each. Id. at 4. Request No. 4 seeks documents identifying the

  ownership and source of the funds used to consummate Lender’s purchase of the Loan, including

  “all ownership and sources of funds for any lenders, debt or equity investors of Lender.” Id.

  Request No. 6 seeks “All documents reflecting the source of the funding solicited or obtained by

  Colorado Third Street, LLC for the Loan Purchase Transaction along with an solicitation materials

  used by Colorado Third Street, LLC for such purpose.” Id

         22.     Similarly, Request No. 11 seeks documents reflecting Lender’s relationship with

  affiliates, including organizational charts and operating agreements, all of which would necessarily

  disclose Lender’s investors. Id. at 6. Request No. 12 seeks communications between Lender and

  its affiliates regarding the Debtor. Id.       Finally, Request No. 13 seeks documents and

  communications regarding the potential or actual purchase of any loans of the Debtor or of the

  Debtor’s affiliates. Id.

         23.     First, from the outset of the State Court Proceeding, Debtor sought this information

  from Lender as relevant to the State Court Proceeding. The state court denied this request and that

  case is now stayed. The information was not relevant then and it is not relevant to the estate or the

  financial affairs of the Debtor. Schuetz v.Source One Mortgage Services Corp., No. 03-15-00522-

  CV, 2016 WL 4628048, at *4 (Tex. App.—Austin Sept. 1, 2016, no pet.) (party may enforce deed

  of trust where it submitted evidence of note, deed of trust, and assignments of the note and deed

  of trust establishing a chain of title and record ownership, no need to reveal beneficial ownership

  or investors); Bierwirth v. BAC Home Loans Servicing, LP, No. 03-12-00583-CV, 2014 WL

  712520, at *4 (Tex. App.—Austin Feb. 20, 2014, no pet.) (finding bank established right to

  foreclose through evidence of note, deed of trust, assignment of the note to bank, no requirement

  to identify beneficial ownership or investors); Morlock, L.L.C. v. Bank of New York, 448 S.W.3d



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  514, 518 (Tex. App.—Houston [1st Dist.] 2014, pet. denied) (finding bank established ownership

  of deed of trust through assignments establishing a chain of title, no requirement that bank reveal

  investors and beneficial owners); See also Tex. Prop. Code § 51.002(a) (defining mortgagee as the

  “last person to whom the security interest has been assigned of record”).

          24.     Second, Lender has already disclosed information sufficient to show that it is not

  engaged in chicanery or double-dealing. In response to Debtor’s initial request made in the State

  Court Proceeding, counsel for Lender certified that none of the persons/entities identified on

  Debtor’s conflict list is an owner, principal, investor or capital source for Lender, “nor were any

  of the persons/entities named involved with the purchase of the Loan by Lender from the [Original

  Lender].” See Exhibit 5 at 1. Lender is willing to do so again here. Further identifying information

  is not relevant to Debtor’s estate or financial affairs.

          25.     Third, the Debtor’s requests are an improper invasion of Lender’s right to privacy

  that courts including the Fifth Circuit and other bankruptcy courts have jealously guarded. See

  Herron v. Blackford, 264 F.2d 723, 725 (5th Cir. 1959) (urging courts to guard the right of a

  business to protect confidential information and conduct its affairs in private); Wilcher, 56 B.R.

  428 at 434 (applying Herron to hold that a that Rule 2004 examination of a third-party was

  improper). Filing for Chapter 11 protection does not give debtors the right to conduct an invasive

  audit of a creditor’s business. See In re Countrywide Home Loans, 384 B.R. 373, 392 (Bankr.

  W.D. Pa. 2008) (Rule 2004 does not allow requestor to “to engage in potentially invasive and

  expensive Rule 2004 discovery based on nothing more than her own curiosity.”) No “good cause”

  exists for allowing the Debtor the right to pry confidential and valuable financial information from

  its creditors merely because it filed for Chapter 11 protection. See Express One Int’l, 217 B.R. at

  216.



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         26.     Texas law also supports that this information is private. Lender is a Texas limited

  liability company with a sole manager. Under the Texas Business Organizations Code, the only

  information it must publicly disclose in its certificate of formation is the name of the entity, the

  purpose for which the entity is formed, the name and address of the organizer and its registered

  agent, and the name and address of each initial manager. Tex. Bus. Orgs. Code §§ 3.005, 3.010.

  Pursuant to § 3.010, the limited liability company is only required to disclose the name and address

  of each initial member if the “company will not have managers.” Id. § 3.010(3).

         27.     Debtor’s attempt to use Rule 2004 to force the public disclosure of this information

  should be seen for what it is: a perversion of the Bankruptcy Code’s rules to gain negotiating

  leverage over its creditors. This should not be allowed to occur.

     B. The Debtor Cannot Show Good Cause for Requests for All Internal Communications
        Related to the Loan Transactions, which are Overbroad and Unduly Burdensome

         28.     The Debtor cannot show good cause for making Requests 5, 6, 10, 14, and 15, and

  the Court should quash these requests for the additional reason that they are overbroad and unduly

  burdensome.

         29.     Request No. 5 seeks all communications and agreements between Lender, its

  agents, its members, equity holders, Lender’s beneficial owners, and the beneficial owners of those

  beneficial owners concerning the Debtor, the Debtor’s Property or the purchase of the Loan.

  Exhibit 1 at 4. Request No. 6 seeks “All documents reflecting the source of the funding solicited

  or obtained by Colorado Third Street, LLC for the Loan Purchase Transaction along with an

  solicitation materials used by Colorado Third Street, LLC for such purpose.” Id. Request No. 10

  seeks all communications, including internal communications regarding the Property, the Loan,

  and any tenants, and all external communications regarding the same between Lender and a

  substitute trustee and any third party. Id. at 6. Request No. 14 seeks any and all communications


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  involving Lender or affiliates regarding information or documents obtained in the course of the

  purchasing or regarding the Loan. Id. at 7. Request No. 15 is identical to Request No. 14. Id.

          30.      When a motion to quash a subpoena is made, the party seeking the Rule 2004

  examination must carry the burden of showing that good cause exists. Express One Int’l, 217 B.R.

  at 216. Generally, good cause requires a showing that the examination sought is necessary to

  establish the claim of the party seeking the examination, or that the denial of such request would

  cause the proposed examiner undue hardship or injustice. Id. (citing In re Dinubilo, 177 B.R. 932,

  940 (E.D. Cal. 1993)). The Debtor’s request for the broad swath of communication with any third

  party related to the Property, the Loan, or the tenants is entirely disproportionate to the dispute at

  hand.

          31.      Debtor requests substantively all communications ever made by Lender related to

  the Debtor. Such a request cannot be supported by good cause. This burden is not counterbalanced

  by a reasonable claim the Debtor can pursue. Indeed, as shown by the State Court Proceeding, the

  Debtor has not identified any potential claims against Lender. Debtor has presented zero evidence

  of any potential wrongdoing by Lender. Rather, these requests are an effort to harass and

  discourage Lender from seeking its lawful, contractual remedies. For these reason and for the

  reasons discussed above, the Debtor has not and cannot show good cause for such an expansive

  request.

     C. Lender Objects in Part to Certain Requests to the Extent that the Requests are
        Overbroad and Unduly Burdensome

          32.      Debtor Request Nos. 5 through 17 are overbroad, and Lender objects to these

  Requests and others to the extent that Lender is asked to produce documents unrelated to the estate

  of the Debtor.




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         33.     Request Nos. 5 through 17 seek “all documents,” “all communications,” or “all

  documents and all communications,” or make similarly broad requests. These requests are not

  tailored to the inquiry at hand; they have nothing to do with Debtor’s estate or its financial affairs.

         34.     With respect to Request No. 7, Lender is willing to produce valuations, non-

  privileged due diligence materials, and business-case assessments, but objects to the request for

  “All Documents concerning the Loan Purchase Transaction including all Documents used by

  [Lender] in determining to enter into the Loan Purchase Transaction” which could be broadly

  construed to capture irrelevant, overly broad materials. Id. at 5. With respect to Request No. 8,

  Lender is willing to produce due diligence, loan files, and other documents directly related to the

  transaction, but objects to the request for “All Documents and Communications regarding the

  Property or the Loan Purchase Transaction” as overbroad. Id. With respect to Request No. 9, the

  Lender is willing to produce communications with tenants, but objects to the request for “all

  internal communications” as overbroad.

                                                CONCLUSION

         WHEREFORE, Lender respectfully requests that the Court enter an order (the “Proposed

  Order”) attached as Exhibit A quashing the Debtor’s Requests Nos. 1-6 and 10-15 in their entirety;

  narrowing Requests No. 7, 8, 9, 16, and 17 as described herein; protecting Lender from producing

  pursuant to Lender’s objections; relieving Lender from any duty to respond to future requests

  absent order of this Court; and providing further relief as the Court deems just and proper. In the

  alternative, Lender respectfully requests that the Court enter the Protective Order attached hereto

  as Exhibit B, and provide further relief as the Court deems just and proper.




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                                      Respectfully Submitted,

                                      BRACEWELL LLP

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                                      Counsel for Colorado Third Street, LLC




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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served (i) electronically
  on the parties registered to receive notice through the court’s ECF noticing system on September
  2, 2020; and (ii) via electronic mail where available, otherwise by regular U.S. mail, postage
  prepaid, on the parties listed on the attached Master Service List on September 2, 2020.

                                                       /s/ Jason G. Cohen
                                                           Jason G. Cohen



                               CERTIFICATE OF CONFERENCE

         I hereby certify that before filing, on September 1, 2020, that I conferred with Mark
  Ralston, counsel for the Debtor, via email regarding the objections in the Motion. Counsel for the
  Debtor did not respond to this attempt to confer.

                                                       /s/ Christopher L. Dodson
                                                           Christopher L. Dodson.
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                                  Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

                                                                 §
      IN RE:                                                     §                    CHAPTER 11
                                                                 §
         WC 4TH AND COLORADO, LP, 3                              §            CASE NO. 20-10881-TMD
                                                                 §
                                       DEBTOR.                   §
                                                                 §

                             ORDER GRANTING
            COLORADO THIRD STREET, LLC’S AMENDED EMERGENCY
       MOTION TO QUASH IN PART DEBTOR’S RULE 2004 DOCUMENT REQUESTS

           Upon consideration of Colorado Third Street LLC’s (“Colorado Third” or “Lender”)

  Amended Emergency Motion to Quash in Part Debtor’s Rule 2004 Document Requests and for

  Entry of Protective Order (the “Motion”) and the above-captioned debtor and debtor-in-possession

  (the “Debtor”), and it appearing to the Court that the relief sought should be granted; IT IS

  HEREBY ORDERED THAT:




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   The Debtor in this chapter 11 case, along with its last four digits of its federal tax identification number is: WC 4th
  and Colorado, LP (1759).
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                                        18



         The Debtor’s Notice of Intent to Conduct Rule 2004 Examination and Request for

  Production of Documents from Lender on August 25, 2020, is hereby quashed in relation to

  Request Nos. 1-6, 10-15; narrowed as described in the Motion as to Requests No. 7, 8, 9, 16, and

  17; and consequently Colorado Third Street, LLC shall have no obligation to respond or produce

  documents to Request Nos. 1-6, 10-15, unless later ordered to do so by the Court.



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